      Case 2:17-cv-01034-RFB-VCF Document 1-2 Filed 04/11/17 Page 1 of 2




     SUPPLEMENTAL CIVIL COVER SHEET FOR CASES
        REMOVED FROM ANOTHER JURISDICTION
                 This form must be attached to the Civil Cover Sheet at the time
                  the case is filed in the United States District Clerk's Office.

                     Additional sheets may be used as necessary.
_________________________________________________________________

1.     Style of the Case:

       Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s),
       Crossclaimant(s) and Third Party Claimant(s) still remaining in the case and indicate their
       party type. Also, please list the attorney(s) of record for each party named and include
       their bar number, firm name, correct mailing address, and phone number (including area
       code).

        Party                             Party Type         Attorney(s)
        Fred Doremus                       Plaintiffs      Mark G. Henness, NV Bar No. 5842
        Linda Doremus                                      Jacob S. Smith, NV Bar No. 10231
                                                           Henness & Haight
                                                           8972 Spanish Ridge Avenue
                                                           Las Vegas, NV 89148
                                                           (702) 862-8200

        American Family Mutual            Defendant        Kevin C. Barrett, NV Bar No. 8959
        Insurance Company                                  Graif Barrett & Matura, P.C.
                                                           1850 North Central Avenue, Suite 500
                                                           Phoenix, AZ 85004
                                                           (602) 792-5700

2.     Jury Demand:

       Was a Jury Demand made in another jurisdiction? Yes            No

              If "Yes," by which party and on what date?


3.     Answer:

       Was an Answer made in another jurisdiction?           Yes    No 
             If "yes," by which party and on what date?
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4.        Served Parties:

          The following parties have been served at the time this case was removed:

          Party                             Date Served          Method of Service

          American Family Mutual            3/13/17              Certified Mail to Nevada
          Insurance Company                                      Commissioner of Insurance

5.        Unserved Parties:

          The following parties have not been served at the time this case was removed: None.


6.        Nonsuited, Dismissed or Terminated Parties: None.


7.        Claims of the Parties:

          The filing party submits the following summary of the remaining claims of each party in
          this litigation:

           Party                          Claim(s)

           Plaintiffs                     Breach of Covenant of Good Faith/Insurance Bad
                                          Faith, Violation of Unfair Claim Practices Act,
                                          Negligent and/or Intentional Misrepresentation,
                                          Breach of Contract

Pursuant to 28 USC § 1446(a) a copy of all process, pleadings, and orders served in another
jurisdiction (State Court) shall be filed with this removal.




4843-5872-6982, v. 1
